Case 2:04-CV-03036-BBD-tmp Document 7 Filed 06/23/05 Page 1 of 2 Page|D 11

Fn.so atf h

UNITED sTA TES DlsTRICT coURT ~ D-C.
WESTERN DISTRICT OF TENNESSEEUS JUN 23 11|*1|11¢l 2 ;
WESTERN DIVISION ROBERT a m ?__ROUO

cLEF:K, . *
w.o op §§ mfgng

MARY EILEEN BOWENS JUDGMENT IN A CIVIL CASE
v'
SHELBY COUNTY, et al. CASE NO; 04-3036-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND A.DJUDGED that in accordance with the Order Of
Dismissal entered on June 20, 2005, this cause is hereby dismissed
without prejudice.

APPROVED :

    

"ITED STATES DISTRICT COURT

§ §§ _,1) Mm/ momm.eout.o
D Cle o:E Court
5%5¢//

 

 

This document entered on the docket shea tn comt`)%lance ,7
with Rule 58 and/or 79(a] FF\CP on Q “é§ 332

 

UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-03036 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Mary Eileen BoWens
1752 NetherWood
Memphis7 TN 38114

Honorable Bernice Donald
US DISTRICT COURT

